Case 3:25-cr-00110-PDW Document67_ Filed 05/20/25 Page1of1

Case 3:25-cr-00110-PDW *SEALED* Document7 Filed 05/14/25 Pagelof2

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
REC'D USHS-FARGO, ND
°95 MAY 1d pMa-o? District of North Dakota
United States of America
V. )
Jacob Edward LAMBERT ) Case No. 3:25-cr-110-5
)
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Jacob Edward LAMBERT ;
who is accused of an offense or violation based on the following document filed with the court:

W Indictment 1 Superseding Indictment O Information © Superseding Information © Complaint

O Probation Violation Petition Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to Possess with Intent to Distribute and Distribute a Controlled Substance

Date: 05/14/2025 /s/Sarah Lien

Issuing officer's signature

City and state: Fargo, ND Sarah Lien, Deputy Clerk

Printed name and title

Return

This warrant was received on (date) S- }44 - oS , and the person was arrested on (date) g- IS— Le

at (city and state) Car ‘S, NPS

Date: S~ ip -4S— ZE
Arresting officer's signature

eae tise and title

